Case 1:25-mj-00135-RSK        ECF No. 1-3, PageID.18     Filed 03/07/25    Page 1 of 2




                                   Attachment B
                     Information and Evidence to be Seized

      Based on the foregoing it appears that there is probable cause to seize

evidence of possession with intent to distribute controlled substances, in violation of

21 U.S.C § 841(a)(1), from the foregoing locations contained in the Subject

Devices:

      1.     Lists, ledgers, spreadsheets, or similar files documenting drug
transactions and/or identifying individuals involved in those transactions;

      2.     Contact lists;

     3.     Toll records documenting incoming and outgoing phone calls, text
messages, and electronic mail;

      4.    Electronic communications including electronic mail, MMS and SMS
text messages, communications through social media networks such as Facebook,
Instagram, Twitter, or their equivalent, relating to drug trafficking;

       5.    Digital photographs or video files depicting firearms, drugs, currency,
buildings or conveyances used or which could be used to facilitate drug trafficking;


       6.    Audio files including voicemail messages or “chats” relating to drug
trafficking;

      7.     Bank records including checks, deposit slips, account statements, wire
transfer documentation, documentation of electronic money transmissions through
money transfer businesses to include Western Union and MoneyGram, and credit
card account statements;

      8.     Global Positioning System (GPS) data indicating the location of the
respective Subject Devices at given points in time;

       9.   Evidence of user attribution showing who used or owned the respective
Subject Devices at the time the things described in this warrant were created,
edited, or deleted, such as logs, phonebooks, saved usernames and passwords,
documents, and browsing history; and
Case 1:25-mj-00135-RSK       ECF No. 1-3, PageID.19      Filed 03/07/25   Page 2 of 2




      10.     Records and things evidencing the use of the Internet, including: records
of Internet Protocol addresses used; and records of Internet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
pages, search terms that the user entered into any Internet search engine, and
records of user-typed web addresses.
